Case 4:20-cv-05640-YGR   Document 1607-2   Filed 05/23/25   Page 1 of 3




                  EXHIBIT A
                  (Redacted)
                                                                                           Case 4:20-cv-05640-YGR                                                        Document 1607-2                                                  Filed 05/23/25                                            Page 2 of 3


                                                                                                                                                                             Privilege Log Entries
                                                                                                                                                                                                                                                                                                                                                                                            Special Master
                                                                                                                                                                                                                                                                                                                                                              Attorneys, Legal Staff, and   Determinations
Bates Number of Parent           Production Beginning Production End                                                                                                                                                                                                          Redact or                                                Additional Privilege   Employees acting at the       (Priv - Yes; Priv - Optional Special
Document (Folder Title)   Number Bates                Bates            Custodians                  DocDate          DocTime          From            To                               Cc                                           Bcc Subject        OriginalName            Withhold    PrivilegeType     Privilege Description      Context                direction of counsel          No)                 Master Notes
                                                                                                                                                                                                                                                      Lit_DMA                                               Document providing
                                                                                                                                                                                                                                                      Newsroom Post --                                      legal advice from                                 Jennifer Brown (Apple in-
                                                                                                                                                                                                                                                      Jan 20 930 PT --                                      counsel regarding                                 house counsel), Ling Lew
                                                                       Oliver, Carson;                                                                                                                                                                Privileged and                                        injunction compliance                             (Apple in-house counsel);
                                                                       Washburn, Tanya;                                                                                                                                                               Confidential                                          press and                                         Freshfields (outside
                                  PRIV-APL-           PRIV-APL-        Moore, Ken; Kirtane,                                                                                                                                                           copy[8]                                               communications legal                              counsel); Gibson Dunn
PRIV-APL-EG_00104831       3323   EG_00104845         EG_00104849      Latika; Thai, Ann                                                                                                                                                              copy.pages       Withhold           AttorneyClient    strategy.                                         (outside counsel)         yes

                                                                                                                                                                                                                                                                                                            Document reflecting
                                                                                                                                                                                                                                                                                                            legal advice prepared
                                                                                                                                                                                                                                                                                                            by employees acting
                                                                                                                                                                                                                                                                                                            under the direction of
                                                                                                                                                                                                                                                                    _ Trust                                 counsel regarding
                                                                                                                                                                                                                                                      & Safety                                              foreign regulatory                                Document indicates it was
                                  PRIV-APL-           PRIV-APL-                                                                                                                                                                                       Evaluation                                            issues in the European                            prepared at the direction
PRIV-APL-EG_00233796       8480   EG_00233796         EG_00233815      Przytulski, Katie           2023-02-17       02:17:28                                                                                                                          extract.pdf             Withhold    AttorneyClient    Union, including DMA                              of counsel                yes




                                                                                                                                                                                      Eddy Cue                  Greg (Joz)
                                                                                                                                                                                      Joswiak              ; Matt Fischer
                                                                                                                                                                                                             Josh Shaffer
                                                                                                                                                                                                     ; Trystan Kosmynka
                                                                                                                                                                                                            Fred Sainz
                                                                                                                                                                                                                ; Andreas
                                                                                                                                                                                      Wendker                       Bob Borchers
                                                                                                                                                                                                                    Ann Thai                                                                                Email chain reflecting
                                                                                                                                                                                                     ; Susan Prescott                                                                                       legal advice from
                                                                                                                                                                                                        ; Carson Oliver                                                                                     counsel regarding
                                                                                                                                                                                                             ; Ling Yang Lew                                                                                injunction compliance
                                                                       Kosmynka, Trystan;                                                                                                             ; Jason Cody                                                                                          for developer guidelines                          Sean Cameron (Apple in-
                                                                       Cue, Eddy; Fischer,                                                                                                                   Pam Reid                                                                                       and website materials                             house counsel); Ling Lew
                                                                       Matt; Schiller, Phil;                                                                                                           ; Kyle Andeer                                  20240120-0841                                         prepared in anticipation                          (Apple in-house counsel);
                                  PRIV-APL-           PRIV-APL-        Oliver, Carson; Joswiak,                                      Phil Schiller   Sean Cameron                                     ; Brendan McNamara               Re: Guidelines Re: Guidelines --                                     or furtherance of                                 Brendan McNamara
PRIV-APL-EG_00218416       6890   EG_00218416         EG_00218419      Greg; Thai, Ann                  1/20/2024         1/0/1900                                                                                                     -- DMA edits DMA edits.eml             Withhold    AttorneyClient    litigation                                        (Apple in-house counsel); YES




                                                                                                                                                                                      Mike Tam                    ; Eric Albert
                                                                                                                                                                                                         Jason Cody
                                                                                                                                                                                                              Trystan Kosmynka
                                                                                                                                                                                                              Sam Muther Bavaro
                                                                                                                                                                                                    Daniel (WWDR) Kim
                                                                                                                                                                                                            Evayn Lundquist
                                                                                                                                                                                                      ; Mary Brunson
                                                                                                                                                                                                           ; Fred Sainz
                                                                                                                                                                                                    ; Dan Martinez
                                                                                                                                                                                                    ; Pam Reid
                                                                                                                                                                                                         ; Negar Nasoohi
                                                                                                                                                                                                    ; Esther Hare                                                                                           Email chain reflecting
                                                                                                                                                                                                     ; Latika Kirtane                                                                                       legal advice from                                 Sean Cameron (Apple in-
                                                                       Kosmynka, Trystan;                                                                                                          ; Ann Thai                                        20240124-1008                                          counsel regarding      Counsel discusses          house counsel); Pam
                                                                       Tam, Mike; Thai, Ann;                                                                                                           ; Isaac Rubin                   Re: Guideline Re: Guideline                                          foreign regulatory     draft developer landing    Reid (Apple in-house
                                  PRIV-APL-           PRIV-APL-        Kirtane, Latika; Bavaro,                                      Jordan Hickey   Sean Cameron                                   ; Cathyia Xie                      Revision (Jan Revision (Jan 25):                   AttorneyClient;   issues in the European page in the EU under       counsel); Jason Cody
PRIV-APL-EG_00219556       7011   EG_00219556         EG_00219570      Sam                              1/24/2024         1/0/1900                                                                                                     25): Sync     Sync.eml           Withhold          WorkProduct       Union including DMA DMA.                          (Apple in-house counsel) YES




                                                                                                                                                                                      Fred Sainz                    Isaac Rubin
                                                                                                                                                     Tim Cook                     ;                 ; Latika Kirtane Raman
                                                                                                                                                     Kate Adams                                    ; Susan Prescott
                                                                                                                                                                             ; Phil                       ; Matt Fischer
                                                                                                                                                     Schiller                    ;                            Carson Oliver
                                                                                                                                                     Eddy Cue                                                  ; Andreas Wendker
                                                                                                                                                     Luca Maestri                                          Eric Albert
                                                                       Cue, Eddy; Federighi,                                                                             ; Lisa                          Jeff Robbin
                                                                       Craig; Cook, Tim; Oliver,                                                     Jackson                                          ; Kyle Andeer                                                                                         Email chain with                                  Sean Cameron (Apple in-
                                                                       Carson; Fischer, Matt;                                                                                ;                          ; Heather Grenier                                                                                   redacted text providing                           house counsel); Ling Lew
                                                                       Schiller, Phil; Kosmynka,                                                     Greg (Joz) Joswiak                                ; Sean Cameron                                20240120-1009                                          legal advice from                                 (Apple in-house counsel);
                                                                       Trystan; Maestri, Luca;                                                                     ; Craig                                        Ling Lew             Re: HOT:      Re: HOT:                                               counsel regarding                                 Heather Grenier (Apple in-
                                                                       Kirtane, Latika; Thai,                                                        Federighi                                          ; Trystan Kosmynka             Documents for Documents for                                          foreign regulatory                                house counsel); Kate
                                  PRIV-APL-           PRIV-APL-        Ann; Joswiak, Greg;                                           Ann Thai                            ; Kristin                           Kurt Knight               3pm PT DMA 3pm PT DMA                                                issues in the European                            Adams (Apple in-house
PRIV-APL-EG_00222094       7334   EG_00222094         EG_00222098      Robbin, Jeff                     1/20/2024         1/0/1900                   Huguet                                                                            Review        Review.eml               Withhold    AttorneyClient    Union, including DMA                              counsel);                  YES
                                                                                            Case 4:20-cv-05640-YGR                                                     Document 1607-2                                                       Filed 05/23/25                                           Page 3 of 3

                                                                                                                                                                                                                                                                                                                                                                                              Special Master
                                                                                                                                                                                                                                                                                                                                                                Attorneys, Legal Staff, and   Determinations
Bates Number of Parent           Production Beginning Production End                                                                                                                                                                                                            Redact or                                                Additional Privilege   Employees acting at the       (Priv - Yes; Priv - Optional Special
Document (Folder Title)   Number Bates                Bates            Custodians                  DocDate          DocTime          From            To                           Cc                                                  Bcc Subject          OriginalName         Withhold    PrivilegeType     Privilege Description      Context                direction of counsel          No)                 Master Notes


                                                                                                                                                                                                                                                                                                              Email chain providing
                                                                                                                                                                                                                                                                                                              legal advice from
                                                                                                                                                     Adam Dema                    Trystan Kosmynka                                        Re: Draft Q&A 20230513-0851                                         counsel regarding
                                                                       Kosmynka, Trystan;                                                                                         Fred Sainz                     Peter Ajemian            for fraud     Re: Draft Q&A for                                     foreign regulatory
                                  PRIV-APL-           PRIV-APL-        Ajemian, Peter; Thai,                                         Ann Thai        Sean Cameron                                        Archelle Thelemaque              prevention    fraud prevention                                      issues in the European                            Sean Cameron (Apple in-
PRIV-APL-EG_00220165       7077   EG_00220165         EG_00220173      Ann                              5/13/2023         1/0/1900                                                                                                        post          post.eml          Withhold          AttorneyClient    Union, including DMA                              house counsel)          YES

                                                                                                                                                                                  Kyle Andeer                            ; Tim Cook
                                                                                                                                                                                                       Craig Federighi
                                                                                                                                                                                                          ; Gregory Joswiak
                                                                                                                                                                                                 ; Kate Adams
                                                                                                                                                                                                              ; Eddy Cue
                                                                                                                                                                                                    Lisa Jackson
                                                                                                                                                                                                               ; Kristin Huguet
                                                                                                                                                                                  Quayle                           ; Jeff Robbin
                                                                                                                                                                                                       ; Sean Cameron
                                                                                                                                                                                                                    Matt Fischer
                                                                                                                                                                                                                Sean Dillon
                                                                                                                                                                                                      ; Susan Prescott                                                                                        Email chain reflecting
                                                                                                                                                                                                           ; Ann Thai                                                                                         information for the
                                                                                                                                                                                                        ; Trystan Kosmynka                Re: Reuters -                                                       purpose of rendering
                                                                       Federighi, Craig; Cook,                                                                                                                 Jason Cody                 Dutch                                                               legal advice from
                                                                       Tim; Fischer, Matt;                                                                                                                      Nick Ammann               watchdog         20220209-1048                                      counsel regarding          Document reflects       Jason Cody (Apple in-
                                                                       Schiller, Phil; Kosmynka,                                                                                                             Tim Powderly                 fines Apple      Re: Reuters -                                      foreign regulatory         information necessary house counsel); Kate
                                                                       Trystan; Maestri, Luca;                                                                                                               Fred Sainz                   $5.7 million     Dutch watchdog                                     issues in the              for the rendering of    Adams (Apple in-house
                                  PRIV-APL-           PRIV-APL-        Thai, Ann; Joswiak,                        1/0/1900           Luca Maestri    Phil Schiller                                   ; Robert Windom                      again in App     fines Apple $5.7                                   Netherlands for dating     legal advice from Apple counsel); Kyle Andeer
PRIV-APL-EG_00221405       7195   EG_00221405         EG_00221413      Greg; Robbin, Jeff                2/9/2022 6:48:56 PM                                                                                                              Store dispute    million again .eml   Withhold    AttorneyClient    apps                       legal.                  (Apple in-house counsel) YES




                                                                                                                                                                                  Luca Maestri                         ; Stella Low
                                                                                                                                                                                                    ; Kristin Huguet Quayle                                                                                                                                     Kate Adams (Apple in-
                                                                                                                                                                                                         ; Fred Sainz                                                                                                                                           house counsel); Kyle
                                                                                                                                                                                                     ; Heather Grenier                                                                                        Email chain providing                             Andeer (Apple in-house
                                                                                                                                                                                                        ; Kyle Andeer                                                                                         information for the                               counsel); Sean Cameron
                                                                                                                                                                                                         ; Sean Dillon                                                                                        purpose of obtaining                              (Apple in-house counsel);
                                                                                                                                                                                                      ; Sean Cameron                                                                                          legal advice from                                 Heather Grenier (Apple in-
                                                                                                                                                                                                                 Doug Vetter              Re: HOT:         20210930-1515                                      counsel regarding                                 house counsel); Sean
                                                                       Schiller, Phil; Oliver,                                                       Marni Goldberg                                    Andrew Farthing                    WSJ story on     Re: HOT: WSJ                                       injunction compliance                             Dillon (Apple in-house
                                                                       Carson; Maestri, Luca;                                                                                 ;                           ; Carson Oliver                 App Store        story on App Store                                 press and                                         counsel); Andrew
                                  PRIV-APL-           PRIV-APL-        Goldberg, Marni;                                              Phil Schiller   Kate Adams                                               ; Alex Roman                financials in    financials in YGR                                  communications legal                              Farthing (Apple in-house
PRIV-APL-EG_00222373       7363   EG_00222373         EG_00222375      Roman, Alex                      9/30/2021         1/0/1900                                                                                                        YGR ruling       ruling.eml         Withhold      AttorneyClient    strategy                                          counsel)                   YES




                                                                                                                                                                                  Fred Sainz                                 Kate
                                                                                                                                                                                  Adams                             ; Heather                                                                                                                                   Sean Cameron (Apple in-
                                                                                                                                                                                  Grenier                       ; Eddy Cue                                                                                                                                      house counsel); Kate
                                                                                                                                                                                                    Stella Low                            Re: Epic's                                                          Email chain providing                             Adams (Apple in-house
                                                                                                                                                                                                    ; Kristin Huguet Quayle               letter                                                              legal advice from                                 counsel); Kyle Andeer
                                                                                                                                                                                                       ; Doug Vetter                      requesting      20210909-1830                                       counsel regarding                                 (Apple in-house counsel);
                                                                                                                                                                                                      Sean Cameron                        reinstatement - Re: Epic's letter                                   injunction compliance                             Sean Dillon (Apple in-
                                                                                                                                                                                                                Kyle Andeer               - privileged    requesting                                          press and                                         house counsel); Heather
                                  PRIV-APL-           PRIV-APL-        Cue, Eddy; Schiller, Phil;                                    Luca Maestri    Phil Schiller                                     ; Sean Dillon                      and             reinstatement --                                    communications legal                              Grenier (Apple in-house
PRIV-APL-EG 00221362       7181   EG_00221362         EG_00221365      Maestri, Luca              2021-09-10        01:30:01                                                                                                              confidential    privileged and.eml Withhold       AttorneyClient    strategy                                          counsel)                  YES




                                                                                                                                                                                  Heather Grenier                        Tim
                                                                                                                                                                                  Cook                        Eddy Cue
                                                                                                                                                                                                    Luca Maestri
                                                                                                                                                                                                        ; Doug Vetter                                                                                         Email chain providing                             Kate Adams (Apple in-
                                                                                                                                                                                                       Sean Cameron                                                                                           legal advice from                                 house counsel); Kyle
                                                                                                                                                                                                                 Kyle Andeer                                                                                  counsel regarding                                 Andeer (Apple in-house
                                                                                                                                                                                                         ; Sean Dillon                                     20210917-0846                                      injunction compliance                             counsel); Sean Cameron
                                                                                                                                                                                                      ; Stella Low                        Re: Epic         Re: Epic                                           requirements for user                             (Apple in-house counsel);
                                                                                                                                                     Philip Schiller                                ; Kristin Huguet Quayle               reinstatement    reinstatement                                      design and interface,                             Sean Dillon (Apple in-
                                                                       Cook, Tim; Schiller, Phil;                                                                      Kate                              ; Fred Sainz                     response --      response --                                        prepared in anticipation                          house counsel); Heather
                                  PRIV-APL-           PRIV-APL-        Maestri, Luca; Joswiak,                                       Greg Joswiak    Adams                                           ; Tim Powderly                       privileged and   privileged and                   AttorneyClient;   or furtherance of                                 Grenier (Apple in-house
PRIV-APL-EG_00221515       7221   EG_00221515         EG_00221518      Greg                       2021-09-17        15:45:55                                                                                                              confidential     confidenti.eml       Withhold    WorkProduct       litigation                                        counsel)                  YES

                                                                                                                                                                                                                                                                                                              Spreadsheet related to
                                                                                                                                                                                                                                                                                                              information for the
                                                                                                                                                                                                                                          AMP Analytics 20220202-1808                                         purpose of obtaining
                                                                       Guebert, Jeff;                                                                                                                                                     Engineering     AMP Analytics                                       legal advice with
                                                                       Hawthorne, Amy;                                                                                                                                                    (AE) Program Engineering (AE)                                       counsel regarding                                 Document reflecting legal
                                  PRIV-APL-           PRIV-APL-        Mirrashidi, Payam;                                                                                                                                                 Status Report - Program Status                                      injunction compliance                             input (no specified
PRIV-APL-EG_00235920       8680   EG_00235920         EG_00236114      Robbin, Jeff                2022-02-03       02:08:03                                                                                                              2/2             Report - 2-2.eml      Withhold    AttorneyClient    launch date and timing                            attorneys).               yes
